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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                    Alexandria Division

 UNITED STATES OF AMERICA                    )
                                             )
              v.                             )
                                             )
 RICHARD W. GATES III,                       )            Case. No. 1:18-cr-83 (TSE)
                                             )
              Defendant.                     )




      ORDER GRANTING UNOPPOSED MOTION TO CONTINUE ARRAIGNMENT

      The Court having considered the defendant’s motion to continue arraignment, it is hereby

ORDERED that the motion is GRANTED, and the hearing is rescheduled to _______.



Date: _______________________             _______________________________________
                                          JUDGE T. S. ELLIS, III
                                          UNITED STATES DISTRICT JUDGE
